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                        EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS

      THE STATE OF TEXAS, ET AL.                §
                                                §
                PLAINTIFFS,                     §
                                                §    CIVIL ACTION NO. 4:20-CV-00957-
                      VS.                       §                SDJ
                                                §
                GOOGLE LLC,                     §
                                                §
                DEFENDANT.                      §         JURY TRIAL DEMANDED
                                                §
                                                §
                                                §




    THE PLAINTIFF STATES’ THIRD AMENDED RESPONSES & OBJECTIONS TO
              GOOGLE LLC’s FIRST SET OF INTERROGATORIES

         The Offices of the Attorney General for the states of Texas, Arkansas, Florida, Idaho,

 Indiana, Kentucky, Louisiana, Mississippi, Missouri, Montana, Nevada, North Dakota, Puerto

 Rico, South Carolina, South Dakota, and Utah (collectively, the “Plaintiff States”) hereby make

 the following amended response to Google LLC’s First Set of Interrogatories (the

 “Interrogatories”) under Federal Rule of Civil Procedure 33 (“Federal Rules”) and any applicable

 local rules.




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                                  PRELIMINARY STATEMENT

         These responses and objections are based on information presently available to the Office

 of the Attorney General in each of the Plaintiff States and are made without prejudice to, and are

 not a waiver of, the Plaintiff States’ rights to rely on other facts or documents at trial.

         The Plaintiff States reserve the right to supplement, clarify, revise, or correct any or all of

 their responses and objections, and to assert additional objections or privileges, in subsequent

 supplemental response(s).

         No response or objections should be construed as an admission or acknowledgment that an

 interrogatory calls for information that is relevant to the subject matter of this litigation or

 proportional to the needs of the case, or that any responsive documents or information would be

 authentic or admissible at any trial.

                                     GENERAL OBJECTIONS

         The Attorneys General for the Plaintiff States object to the Interrogatories to the extent that

 they attempt to impose any obligation greater than those imposed or authorized by the Federal

 Rules of Civil Procedure, the Local Civil Rules of the District Court for the Eastern District of

 Texas, or any applicable Order of the Court.

         The Plaintiff States object to the Interrogatories to the extent that they seek information

 that is not relevant to this litigation or proportional to the needs of the case.

         The Plaintiff States object to the Interrogatories to the extent that they call for information

 protected by the attorney-client privilege, the deliberative process privilege, the common interest

 privilege, and/or the attorney work product doctrine.

         The Plaintiff States object to the Interrogatories as overbroad and unduly burdensome to

 the extent that they seek testimony and information from the Plaintiff States that are not within

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 their possession, custody, or control. The Attorneys General of the Plaintiff States are the entities

 that brought this action pursuant to their statutory authority to enforce state and federal antirust

 and consumer protection laws. This action was not brought by any other public officials, state

 agencies, government entities, or divisions thereof, and such persons are not parties to this

 litigation.

          The Plaintiff States object to Google’s legal conclusion that the Interrogatories are “in

 Accordance with PTO No.5,” and object to the Interrogatories as contrary to PTO No. 5. For

 example, the Interrogatories contain thirty-one (31) enumerated interrogatories; whereas, PTO No.

 5 only allows for twenty-five (25). Additionally, the Plaintiff States object to the use of

 inappropriately compounded interrogatories that contain multiple distinct and separate subparts.

          The Plaintiff States of Arkansas, Florida, Kentucky, Missouri, Montana, Nevada, Puerto

 Rico, and Utah object to these Interrogatories as not properly served on their respective state. In

 responding to these Interrogatories, the Plaintiff States of Arkansas, Florida, Kentucky, Missouri,

 Montana, Nevada, Puerto Rico, and Utah do not concede that they were properly served and

 reserve all rights due to a party that is not properly served under the Federal Rules or the Local

 Rules.

                               OBJECTIONS TO INSTRUCTIONS

          Plaintiff States object to the instructions included with Google’s Requests for Production

 to the extent they direct Plaintiff States to interpret words or phrases in a way that is different from

 their ordinary meaning. Plaintiff States further object to the instructions as vague and ambiguous

 to the extent they direct Plaintiff States to construe words or phrases differently than they are

 written or contrary to the ordinary rules of grammar.




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                                 OBJECTIONS TO DEFINITIONS

         The Plaintiff States object to the definitions included with Google’s Interrogatories to the

 extent that they differ from the meaning of words as they are commonly used, to the extent they

 differ from the meaning they have as used in industry practice, and to the extent that they differ

 from the way that they were defined by Plaintiff States in any Civil Investigative Demand related

 to this litigation or discovery request issued in this litigation. The Attorneys General of the

 Plaintiffs States will respond to the Interrogatories giving the terms used their ordinary meaning

 as commonly understood.

         The Plaintiff States object to Google’s definition of the term “You” or “Your” as

 misleading, factually incorrect, vague, overbroad, and unduly burdensome. The Plaintiff States

 further object to the definition to the extent it purports to enlarge, expand, or in any way alter the

 plain meaning and scope of the Federal Rules of Civil Procedure or seeks to compel Plaintiff States

 to provide information that is not within the possession, custody, or control of the Offices of the

 Attorney General of the respective Plaintiff States. Plaintiff States will construe this term to refer

 to the units, departments, or subdivisions within the Offices of the Attorney General of each

 respective Plaintiff State.

         Plaintiff States specifically object to Google’s definition of the term “Relevant Period” as

 overbroad, unduly burdensome, and disproportional to the needs of the case to the extent it seeks

 information that is not relevant to any party’s claim or defense in this litigation. Plaintiff States

 will meet and confer with Google to identify a reasonable period for each Request for Production

 that is relevant to this litigation and proportional to the needs of the case.




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                    RESPONSES & OBJECTIONS TO INTERROGATORIES

 INTERROGATORY NO. 1: Identify each and every one of Your state’s agencies, entities,

 divisions, or departments that has used Display Advertising or Ad Tech Products during the

 Relevant Period.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits, and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims of this litigation. The Plaintiff States further object to this
        interrogatory to the extent it seeks information that is not within their possession, custody,
        or control and reiterate their objection to the definition of “You” stated above. The Plaintiff
        States are willing to meet and confer with Google to identify responsive information, if
        any, that is in their possession, custody, or control, that is not more easily obtained from
        third parties or that can be provided without causing undue burden. Subject to and without
        waiving the foregoing objections, the Plaintiff States respond:

           •   The State of Arkansas identifies the Arkansas Office of Attorney General Public
               Protection Division as the only division of the Arkansas Office of Attorney General
               that has used display advertising or ad tech products during the Relevant Period.

           •   The Plaintiff State of North Dakota specifically identifies the North Dakota Lottery
               (“ND Lottery”) as the only division of the North Dakota Office of Attorney General
               that has used display advertising or ad tech products during the Relevant Period.

           •   The Plaintiff State of Indiana identifies the following links containing a searchable
               directory identifying staff of Indiana State Agencies, Departments, Boards, and
               Commissions:

                      (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                   (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
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              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies. The
              Commonwealth further states that the Kentucky Office of the Attorney General has
              used Ad Tech Products and Display Advertising.

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past and the Louisiana AG’s office
              will facilitate production of responsive documents from those entities. Information
              regarding their use of display advertising or ad tech products is not within the
              possession, custody, or control of the Louisiana Office of the Attorney General.

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within thier possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Plaintiff State of Utah, by and through its Attorney General’s Office (“Utah
              AGO”) does not have possession, custody, or control of responsive information for
              any state agency other than the Utah AGO. The Utah AGO identifies the following

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                link containing a full list of Utah State Agencies, Departments, Boards, and
                Commissions:

                https://www.utah.gov/government/agencylist.html

            •   The Plaintiff State of Nevada, by and through the Office of the Nevada Attorney
                General (“Nevada AGO”) has confirmed that the Nevada AGO has not purchased
                display advertising or used ad tech products during the Relevant Period. The
                Nevada AGO does not have possession, custody, or control of documents or
                information for other state agencies. However, public officers in Nevada have a
                duty to reasonably provide information in their possession that relates to an active
                antitrust investigation or enforcement action brought by the Nevada AGO.
                Considering that duty, relevant state agencies are willing to voluntarily produce
                relevant documents or information without the formal issuance by Google of a
                FRCP 45 subpoena. The Nevada AGO has determined that the following state
                agencies have not received FRCP 45 subpoenas issued by Google but may have
                responsive information similar to that requested by Google in previous FRCP 45
                subpoenas (“Additional Nevada Agencies”). These agencies are willing to
                voluntarily gather and produce that information, and the Nevada AGO is willing to
                facilitate the voluntary production from these Additional Nevada Agencies within
                a reasonable period of time:

                   o   The Division of Welfare and Supportive Services
                   o   The Division of Public and Behavioral Health
                   o   The Division of Aging and Disability Services
                   o   The Health and Human Services Director’s Office
                   o   The Department of Tourism and Cultural Affairs
                   o   The Silver State Health Insurance Exchange
                   o   Nevada State Treasurer

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Alaska,
                Idaho, Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota and Utah and the Utah Division of Consumer Protection have not purchased
                display advertising or used ad tech products during the Relevant Period.


 INTERROGATORY NO. 2: Identify all remedies You seek in this Action, in what capacity

 (such as parens patriae or sovereign capacity) You seek each remedy, and the statutory or other

 legal basis for each such remedy.

        Response: The Plaintiff States object to this interrogatory to the extent is seeks to force a
        legal conclusion. Further, the Plaintiff States object to this interrogatory as premature given
        the status of the case and the fact that discovery is ongoing, including review of documents
        not timely collected and only recently produced by Google, and to the extent it seeks to
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        compel Plaintiffs to marshal all of their evidence in advance of trial. The Plaintiff States
        also object on the basis that this request calls for the premature disclosure of expert
        opinions. Expert disclosures will be made within the time prescribed by the Court’s
        Scheduling Order. The Plaintiff States reserve their rights to supplement responses to this
        interrogatory at a later date once they have designated experts and obtained sufficient
        discovery to make a complete response. Subject to and without waiving the foregoing
        objections, the Plaintiff States respond:

            •   The Plaintiff States reserve the right to pursue any allowable remedy under federal
                or state antitrust law that would restore competition to any market in which
                Google’s conduct is alleged to have anticompetitive effects. The Plaintiff States
                currently believe that a combination of structural and behavioral remedies are
                necessary to restore competitive conditions to the affected markets.

            •   The Plaintiff States reserve the right to pursue any allowable remedy under their
                respective state laws for Google’s deceptive conduct in order to compensate the
                injured citizens or persons of their state and to deter future deceptive conduct on
                the part of Google.

            •   Subject to the foregoing objections and reservations of rights, Plaintff States have
                the present intent to pursuing those remedies identified in Exhibit “B”.


 INTERROGATORY NO. 3: Identify all persons answering and supplying information in

 response to these Interrogatories and all documents You relied on to answer these

 Interrogatories.

        Response: The Plaintiff States object to this interrogatory to the extent it seeks attorney-
        client or work product privileged information, or to the extent it seeks information not
        otherwise discoverable under court order. The Plaintiff States will supplement their
        responses to this interrogatory at a later date if they have responsive information. Subject
        to and without waiving the foregoing objections, the Plaintiff States respond:

            •   Staff attorneys for the respective Attorneys General of the Plaintiff States or outside
                counsel representing certain of the Attorneys General of the Plaintiff States were
                involved in preparing these responses.

            •   The Plaintiff State of Florida specifically responds that it consulted with its internal
                Information Technology staff in formulating these responses.


 INTERROGATORY NO. 4: Identify all injured persons or categories of persons on whose

 behalf You as parens patriae seek monetary relief (including, where applicable, restitution,
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  disgorgement, civil penalties, civil fines, or damages) in this Action, and for each person or

  category of persons state the following:


         a. whether the person is a natural person or legal entity;

         b. how the person has used Display Advertising or Ad Tech Products, including whether
         the person is a Publisher, Advertiser, or consumer;

         c. the person’s state of residence, organization, or incorporation;

         d. if applicable, the person’s principal place of business;

         e. the nature of the person’s injury; and

         f. the specific monetary relief You seek as a result of the person’s injury.


         Response: The Plaintiff States object to this interrogatory as unduly burdensome and
         disproportional to the needs of the case as it places an undue burden on the responding
         party that outweighs its likely benefits, and the requesting party’s ability to obtain the
         information is similar to that of the responding party. Plaintiff States also object to this
         Request to the extent that it implies that the identification of specific persons is a necessary
         element of a parens patriae claim. Further, the Plaintiff States object to this interrogatory
         is premature given the status of the case and the fact that discovery is ongoing, including
         review of documents not timely collected and only recently produced by Google, and to
         the extent it seeks to compel Plaintiff States to marshal all of their evidence in advance of
         trial. The Plaintiff States also object on the basis that this request calls for the premature
         disclosure of expert opinions. Expert disclosures will be made within the time prescribed
         by the Court’s Scheduling Order. Subject to and without waiving the foregoing objections,
         the Plaintiff States respond:

             •   The Plaintiff State of North Dakota seeks to recover as parens patriae on behalf of
                 all North Dakota persons that have paid higher prices for goods and services,
                 including internet content, suffered lower quality internet content, or have had their
                 data unlawfully misappropriated as a result of Google’s unconscionable or
                 deceptive acts or practices, pursuant to N.D.C.C. chapter 51-15.

             •   The Arkansas Office of the Attorney General seeks to recover under its parens
                 patriae authority as set forth in Ark. Code Ann. § 4-75-212. The State of Arkansas
                 seeks to recover on behalf of natural persons located in the State of Arkansas that
                 have paid higher prices for goods and services as the result of Google’s
                 anticompetitive conduct toward advertisers that increased the cost of advertising
                 and thereby the cost of goods and services purchased.

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            •   As to the specific remedies identified in this Interrogatory, the Plaintiff
                Commonwealth of Kentucky refers to paragraphs 639, 710, 759 (and all subparts),
                and 766 (and all subparts) of the Fourth Amended Complaint (DN 541). The
                Plaintiff Commonwealth of Kentucky seeks to recover the remedies identified in
                the aforementioned paragraphs of the Fourth Amended Complaint for any unlawful
                conduct by Google that impacted all persons, both natural persons and legal entities,
                located in the Commonwealth. The Commonwealth is not seeking restitution, as
                defined under Kentucky law, as a remedy in this case.

            •   The Missouri Attorney General seeks to recover as parens patriae on behalf of all
                consumers or persons located in its jurisdiction that: (a) have paid higher prices for
                goods and services as the result of Google’s anticompetitive conduct toward
                advertisers that increased the cost of advertising and thereby the cost of goods and
                services purchased; (b) have been forced to pay for or suffered lower quality of
                internet content as a result of Google’s anticompetitive conduct toward publishers
                that reduced revenue to publishers; (c) have paid higher prices for goods and
                services and for internet content or suffered lower quality of internet content as a
                result of Google’s unlawful, unfair, or deceptive trade practices; or (d) have had
                their data unlawfully misappropriated by Google. The Attorney General seeks
                disgorgement pursuant to Mo. Rev. Stat. § 416.071.2, seeks disgorgement,
                restitution, and civil penalties pursuant to Mo. Rev. Stat. § 407.100, and seeks an
                award of 10% of any restitution ordered pursuant to Mo. Rev. Stat. § 407.140.3.


     INTERROGATORY NO. 5: Identify and quantify all harm to the general welfare and the

     economy of Your state for which You seek monetary relief (including, where applicable,

     restitution, disgorgement, civil penalties, civil fines, or damages) in this Action, and specify

     the particular relief You seek for each such harm.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its likely benefits. Further, the Plaintiff States object to this
        interrogatory as premature given the status of the case and the fact that discovery is
        ongoing, including review of documents not timely collected and only recently produced
        by Google, and to the extent it seeks to compel Plaintiff States to marshal all of their
        evidence in advance of trial or to the extent that it seeks to compel a legal conclusion. The
        Plaintiff States also object on the basis that this request calls for the premature disclosure
        of expert opinions. Expert disclosures will be made within the time prescribed by the
        Court’s Scheduling Order. Subject to and without waiving the foregoing objections, the
        Plaintiff States will supplement their responses to this interrogatory at a later date once
        they have designated experts and obtained sufficient discovery to make a complete
        response.
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     INTERROGATORY NO. 6: Identify all injunctive or structural relief You seek in this
     Action, including a description of:

        a. the specific relief sought;

        b. the applicable relevant market;

        c. the assets or Ad Tech Product(s) You expect to be impacted;

        d. the proposed duration of the relief; and

        e. how each type of relief sought would “restore competitive conditions in the relevant

        markets” as alleged in Paragraph 683(c)-(d) of the Third Amended Complaint.

        Response: The Plaintiff States object to this interrogatory to the extent it seeks to compel
        a legal conclusion. Further, the Plaintiff States object to this interrogatory as premature
        given the status of the case and the fact that discovery is ongoing, including review of
        documents not timely collected and only recently produced by Google,and to the extent it
        seeks to compel the Plaintiff States to marshal all of their evidence in advance of trial. The
        Plaintiff States also object on the basis that this request calls for the premature disclosure
        of expert opinions. Expert disclosures will be made within the time prescribed by the
        Court’s Scheduling Order. Subject to and without waiving the foregoing objections, the
        Plaintiff States will supplement their response to this interrogatory at a later date once they
        have designated experts and obtained sufficient discovery to make a complete response.


     INTERROGATORY NO. 7: Identify the “data and information unlawfully taken from

     consumers by means of deceptive trade practices” for which You seek disgorgement in

     Paragraph 683(g) of the Third Amended Complaint, and describe how such disgorgement is to

     be effected and implemented.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. The Plaintiff States also
        object on the basis that this request calls for the premature disclosure of expert opinions.
        Expert disclosures will be made within the time prescribed by the Court’s Scheduling
        Order. Subject to and without waiving the foregoing objections, the Plaintiff States
        respond:

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            •   The Plaintiff States incorporate by reference paragraphs 572-583 of the Fourth
                Amended Complaint in response to this interrogatory.

            •   The Fourth Amended Complaint refers to data collected from users of Google
                products and data that Google requires publishers and advertisers to give Google
                about users collected from their visit to and participation on a publisher’s webpage
                as being unlawfully and deceptively taken from internet users by Google.


     INTERROGATORY NO. 8: Identify with particularity each and every act, practice, or

     statement by Google that You allege to have been unfair or deceptive. As part of your response,

     identify all documents on which you relied on to respond to this Interrogatory.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. Further, the Plaintiff
        States object to this interrogatory as premature given the status of the case and the fact that
        discovery is ongoing, including review of documents not timely collected and only recently
        produced by Google, and to the extent it seeks to compel the Plaintiff States to marshal all
        of their evidence in advance of trial. Plaintiff States also object on the basis that this is a
        contention interrogatory that need not be answered until the conclusion of fact discovery.
        Subject to and without waiving the foregoing objections, the Plaintiff States respond:

            •   The Plaintiff States hereby incorporate by reference herein paragraphs 526-597 and
                647-758 of the Fourth Amended Complaint in response to this interrogatory. More
                specifically, Google’s acts, practices, and statements that the Plaintiff States believe
                or have reason to believe have been unfair, deceptive, false, and/or misleading,
                and/or which have the capacity or tendency to deceive, or are likely to deceive,
                include but are not limited to the following:

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information surrounding the use and
                implementation of Project Bernanke to manipulate advertiser bids without their
                knowledge. See, e.g., GOOG-NE-03626245; GOOG-NE-03898431; GOOG-AT-
                MDL-004334894; GOOG-NE-11267438; GOOG-DOJ-14152910; GOOG-NE-
                03898431;    GOOG-DOJ-14254525;          GOOG-NE-13549441;          GOOG-DOJ-
                14157039; GOOG-DOJ-15104543; GOOG-NE-10569088; GOOG-NE-03580452;
                GOOG-NE-03892302; GOOG-AT-MDL-007173084; GOOG-DOJ-15435620;
                GOOG-NE-10929507; GOOG-NE-13468541.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information surrounding the use and
                implementation of Reserve Price Optimization and other dynamic flooring
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               practices. See, e.g., GOOG-NE-13340735; GOOG-DOJ-14368344; GOOG-DOJ-
               14008433; GOOG-NE-06842715; GOOG-DOJ-15511015; GOOG-AT-MDL-
               003141298;       GOOG-AT-MDL-003164150;      GOOG-AT-MDL-003164158;
               GOOG-AT-MDL-003164162;         GOOG-AT-MDL-003164171;      GOOG-DOJ-
               14147817; GOOG-DOJ-29803801; GOOG-AT-MDL-004242638; GOOG-NE-
               13229114; GOOG-TEX-00831373; GOOG-NE-05308050; GOOG-NE-12466643;
               GOOG-DOJ-15435620; GOOG-AT-MDL-001890174.

           •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
               and failure to disclose material information surrounding the use and
               implementation of Dynamic Revenue Sharing. See, e.g., GOOG-NE-04934281;
               GOOG-NE-06842133; GOOG-NE-09485306; GOOG-TEX-00777528; GOOG-
               DOJ-15422521; GOOG-DOJ-14735882; GOOG-NE-04934281; GOOG-DOJ-
               14156440; GOOG-NE-06842715; GOOG-NE-09485306; GOOG-AT-MDL-
               001004706; GOOG-NE-09485306; GOOG-DOJ-14368344; GOOG-DOJ-AT-
               02423615; GOOG-NE-13226622; GOOG-NE-12737317; GOOG-DOJ-14162332.

           •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
               and failure to disclose material information regarding publisher’s use and
               implementation of header bidding. See, e.g., GOOG-TEX-00036586; GOOG-
               TEX-00971726; GOOG-TEX-00097138; GOOG-NE-12741112; GOOG-TEX-
               00036144; GOOG-DOJ-14323586; GOOG-AT-MDL-003168327; GOOG-NE-
               13414309; GOOG-NE-11797459.

           •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,,
               and failure to disclose material information regarding its collection of user data,
               auction data, and ad log data, and how such data was used to optimize its buying
               tools. See, e.g., GOOG-NE-06910389; GOOG-NE-12794242; GOOG-DOJ-AT-
               02644082; GOOG-DOJ-15611285; GOOG-DOJ-15621058; GOOG-DOJ-
               15789359; GOOG-DOJ-15089206.

           •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
               and failure to disclose material information relating to the operations of Google’s
               ad serving and auction mechanics; and Google’s deceptive acts, misrepresentations,
               and failure to disclose material information relating to all bidders competing on
               equal footing within Google’s ad exchange. See, e.g., GOOG-NE-02345371;
               GOOG-DOJ-14032377; GOOG-DOJ-15241839; GOOG-TEX-01022605; GOOG-
               AT-MDL-004071049; GOOG-NE-07954222; GOOG-TEX-00633233; GOOG-
               DOJ-AT-01807679;         GOOG-NE-06879032;           GOOG-AT-MDL-003570297;
               GOOG-NE-07289269.

        Discovery and the Plaintiff States’ investigation remains ongoing, and accordingly, the
        Plaintiff States reserve the right to further supplement their objections and responses to this
        interrogatory.


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     INTERROGATORY NO. 9: Identify all persons other than Google with whom You

     communicated concerning an Investigation or this Action. In Your response:

        a. provide the date of each communication, the participants in the communication

        (including each participant’s employer or affiliation), the method of the communication,

        and the subject matter discussed; and


        b. identify any documents disclosed by You or the person during each communication.


        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party as it is duplicative of information included as part of the State Plaintiffs’ Rule 26
        disclosures or otherwise not relevant to the facts or claims in this litigation. The Plaintiff
        States also object to this interrogatory to the extent it seeks attorney-client or work product
        privileged information, information subject to the common interest and joint prosecution
        privileges, or to the extent it seeks information not otherwise discoverable under court
        order. Subject to and without waiving the foregoing objections, the State Plaintiffs respond:

            •   See Appendix A of Plaintiff States Initial Disclosures which lists each third party
                contacted during the investigation by the Plaintiff States. The Plaintiff States did
                not disclose any documents to the listed parties during those conversations.


     INTERROGATORY NO. 10: Identify all persons other than Google who have provided

     You with information that You intend to rely on to support Your claims asserted in this

     Action, and provide a brief description of the information received from each such person.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party as it is duplicative of information included as part of the Plaintiff States Rule 26
        disclosures. Further, the Plaintiff States object to this interrogatory as premature given the
        status of the case and the fact that discovery is ongoing, including the productions and
        review of documents from third parties, and to the extent it seeks to compel Plaintiff States
        to marshal all of their evidence in advance of trial. The Plaintiff States also object to this
        interrogatory to the extent it seeks attorney-client or work product privileged information,
        information subject to the common interest and joint prosecution privileges, or to the extent
        it seeks information not otherwise discoverable under court order. Plaintiff States also
        object on the basis that this is a contention interrogatory that need not be answered until

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        the conclusion of fact discovery. Subject to and without waiving any of the foregoing
        objections, the Plaintiff States respond:

            •   See Appendix A of Plaintiff States Initial Disclosures which lists each third party
                contacted during the investigation by the Plaintiff States. The Plaintiff States did
                not disclose any documents to the listed parties during those conversations.

            •   The following companies produced documents to Plaintiff States during the
                investigation: Adobe, Amazon, Amobee, AT&T, Comcast, Criteo, Daily Mail,
                Discovery, Duck Duck Go, Facebook, Fox, Hearst, Index Exchange, MediaMath,
                Microsoft, New York Times, News Corp., OpenX, Oracle, Pubmatic, Rubicon
                (now Magnite), SpringServe, The Trade Desk, Verizon, WPP.

            •   The Plaintiff States intend to rely on documents and information produced by other
                plaintiffs who have filed suit against Google and by third parties that have produced
                documents to the parties since the Plaintiff States’ investigation—whose identities
                are all known to Google.


     INTERROGATORY NO. 11: Identify any communications with or from Google upon

     which You rely for any of Your claims, including the dates of such communications, the

     relevant individuals from You and Google who participated in such communications, the

     subject matter of such communications, and all documents related thereto.

        Response: The Plaintiff States object to this interrogatory as vague and ambiguous, overly
        burdensome, and disproportional to the needs of the case as the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party. Further, the
        Plaintiff States object to this interrogatory as premature given the status of the case and the
        fact that discovery is ongoing, including review of documents not timely collected and only
        recently produced by Google, and to the extent it seeks to compel Plaintiff States to marshal
        all of their evidence in advance of trial. Plaintiff States also object on the basis that this is
        a contention interrogatory that need not be answered until the conclusion of fact discovery.
        Subject to and without waiving the foregoing objections, the Plaintiff States will meet and
        confer with Google to identify responsive information.


     INTERROGATORY NO. 12: Identify all contracts that You allege coerced customers into

     using DFP with AdX, as set forth in Paragraphs 245-252 of the Third Amended Complaint.

     For each contract, identify the specific provisions You contend are coercive in nature.


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        Response: The Plaintiff States objects to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case as it places an undue burden on
        the responding party that outweighs its expected benefits and the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party. The Plaintiff
        States object to this interrogatory as misstating their claims, which allege, among other
        allegations, that Google’s decision to no longer offer AdX-only contracts was coercive.
        Further, the Plaintiff States object to this interrogatory as premature given the status of the
        case and the fact that discovery is ongoing, including review of documents not timely
        collected and only recently produced by Google,and to the extent it seeks to compel
        Plaintiff States to marshal all of their evidence in advance of trial. Plaintiff States also
        object on the basis that this is a contention interrogatory that need not be answered until
        the conclusion of fact discovery. Subject to and without waiving the foregoing objections,
        the Plaintiff States will supplement its response to this interrogatory at a later date once
        they have designated experts and obtained sufficient discovery to make a complete
        response.


     INTERROGATORY NO. 13: Identify the “one large publisher” and all other “publishers”

     referenced in Paragraph 247 of the Third Amended Complaint.

        Response: The Plaintiff States object to this interrogatory as overly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. Subject to and without
        waiving the foregoing objections, the Plaintiff States will meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The Plaintiff States identify NewsCorp as the “one large publisher.”


     INTERROGATORY NO. 14: Identify the earliest date on which You believe Google

     possessed monopoly power in each of the markets that You allege to be relevant to Your

     claims, and describe how You believe Google obtained monopoly power in each of those

     markets.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. The Plaintiff States also
        object to this interrogatory to the extent that it seeks to compel a legal conclusion. Further,
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        Plaintiff States object to this interrogatory as premature given the status of the case and the
        fact that discovery is ongoing, including review of documents not timely collected and only
        recently produced by Google, and to the extent it seeks to compel Plaintiff States to marshal
        all of their evidence in advance of trial. The Plaintiff States also object on the basis that
        this request calls for the premature disclosure of expert opinions. Expert disclosures will
        be made within the time prescribed by the Court’s Scheduling Order. Plaintiff States also
        object on the basis that this is a contention interrogatory that need not be answered until
        the conclusion of fact discovery. Subject to and without waiving the foregoing objections,
        the Plaintiff States will supplement their response to this interrogatory at a later date once
        they have designated experts and obtained sufficient discovery to make a complete
        response.


     INTERROGATORY NO. 15: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify each Ad Tech Product used during the Relevant Time Period,

     whether from Google or any other Ad Tech Provider. In Your response, provide:

        a. the type of Ad Tech Product used;

        b. the amount of fees or Take Rate by month for each Ad Tech Product used;

        c. the dates during which each Ad Tech Product was used;

        d. all reasons for using and/or switching from one Ad Tech Product to another; and

        e. if applicable, all reasons for ceasing use of an Ad Tech Product.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation.The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The Arkansas Office of Attorney General Public Protection Division has used
                Google AdWords services from November 1, 2013 to present. The Take Rate is not
                applicable, as this service was not purchased with the goal of monetary gain. Ad
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              Tech products were used to notify the public of laws concerning tobacco purchases
              in the State of Arkansas and to deter sales of contraband tobacco products. At no
              time did the Public Protection Division cease the use of or switch Ad Tech products.

          •   The Plaintiff State of North Dakota specifically identifies the North Dakota Lottery
              (“ND Lottery”) as the only division of the North Dakota Office of Attorney General
              that has used display advertising or ad tech products during the Relevant Period.

              The Plaintiff State of North Dakota restates its objection to Relevant Time Period,
              if it is meant to be “Relevant Period.” The “Relevant Period,” as defined, is
              overbroad, unduly burdensome, and disproportional to the needs of the case. The
              State of North Dakota will provide responses to this Interrogatory to the extent that
              the State of North Dakota has the information in its possession, custody, or control.

                     a. the type of Ad Tech Product used: The ND Lottery has used Google
                        Display, DV360 (Adswerve), YouTube (Pre-roll), Facebook, Forum
                        Communications (Programmatic Pre-Rolls and Programmatic Display),
                        Midco (OTT/CTV), Hulu (OTT/CTV), Outstream Video, Teads,
                        Dynadmic, and Pandora.

                     b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                         The ND Lottery does not have any information regarding fees or Take
                         Rate for Ad Tech Products used.

                     c. the dates during which each Ad Tech Product was used: The ND
                        Lottery’s use of Ad Tech Products identified in a., above, depends on
                        each advertising buy, campaign, and budget. The use of Ad Tech
                        Products is reflected in each media buy. The ND Lottery used Google
                        Display and YouTube Pre-Roll until March 2022, and began using
                        DV360 in December of 2022. The ND Lottery used Teads In-read video
                        from 2016 to 2019 and switched to Outstream Video in November 2019.
                        The ND Lottery tried Dynadmic video for a short time from 8/6/2017 to
                        9/2/2017.

                     d. all reasons for using and/or switching from one Ad Tech Product to
                        another: While using YouTube Pre Roll and Google Display, ND
                        Lottery had persistent issues with Google flagging its ads as unapproved
                        online gambling. ND Lottery stopped using YouTube Pre Roll and
                        Google Display in March 2022, as neither ad tech product would run its
                        advertising campaign. ND Lottery was informed by its advertising
                        agency that Google rejected the advertising campaign because of a
                        sentence in the ND Lottery’s website global footer, which references the
                        contact information for Responsible Gaming Help. Google specifically
                        had issues with the language: “If gambling is no longer fun call 2-1-1,
                        contact GamblerND in North Dakota or Gamblers Anonymous.” Google
                        would only approve ND Lottery’s advertising campaign if it agreed to
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                        remove this section of the Responsible Gaming Help language. Per the
                        ND Lottery’s Administrative Rules 10-16-01-02, Advertising,
                        Subsection b, the ND Lottery provides retailers with Problem Gambling
                        Helpline Telephone Number. Since the Responsible Gaming Help
                        language is provided to retailers, the ND Lottery is legally required to
                        provide it to the public as a public service. ND Lottery could not make
                        the change requested by Google, and ND Lottery had to switch the online
                        advertising budget it would have used on Google Display/YouTube over
                        to Facebook. In or around December of 2022, ND Lottery tried DV360,
                        negotiated ad/website language that would allow it to advertise using
                        DV360, and subsequently switched some of its advertising budget to
                        DV360.

                     e. if applicable, all reasons for ceasing use of an Ad Tech Product: See
                        response to d.

          •   The Plaintiff State of Indiana identifies the following links containing a
              searchable directory identifying staff of Indiana State Agencies, Departments,
              Boards, and Commissions:

              (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
              (https://www.in.gov/apps/iot/find-a-person/)

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Indiana Office of the Attorney
              General.

              The Plaintiff State of Indiana specifically identifies the Indiana Office of Attorney
              General Unclaimed Property Division (“UPD”) as the only division of the Indiana
              Office of Attorney General that has used display advertising or ad tech products
              during the Relevant Period. The Indiana Office of Attorney General works through
              an outside vendor to purchase advertising services, including display advertising,
              for UPD.

              The Plaintiff State of Indiana restates its objection to “the Relevant Time Period,”
              if it is meant to be “Relevant Period.” The “Relevant Period,” as defined, is
              overbroad, unduly burdensome, and disproportional to the needs of the case. The
              State of Indiana will provide responses to this Interrogatory to the extent that the
              State of Indiana has the information in its possession, custody, or control.

              The Plaintiff State of Indiana will produce documents related to its use of Display
              Advertising through advertising contracts with outside vendors.

                     a. the type of Ad Tech Product used: The Indiana Office of Attorney
                        General does not select individual Ad Tech Products. It uses an outside
                        vendor, The Prosper Group, PO Box 488, Greenwood, IN 46142, to
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                        purchase advertising services, including Display Advertising, for UPD.
                        Previously, the Indiana Office of Attorney General used a different
                        vendor, The Basement, 1075 Broad Ripple Avenue, Ste 381,
                        Indianapolis, IN 46220, to purchase advertising services, including
                        Display Advertising, for UPD.

                     b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                         The Indiana Office of Attorney General does not track fees or Take Rates
                         by Ad Tech Product used.

                     c. the dates during which each Ad Tech Product was used: The Indiana
                        Office of Attorney General does not direct or track the use of individual
                        Ad Tech Products. The Indiana Office of Attorney General has allocated
                        some of its UPD advertising budget through The Prosper Group to
                        display advertising in different campaigns since at least May, 2021.

                     d. all reasons for using and/or switching from one Ad Tech Product to
                        another: The Indiana Office of Attorney General does not select
                        individual Ad Tech Products. Any Display Advertising purchased for
                        any UPD advertising campaign was arranged through its outside vendor.

                     e. if applicable, all reasons for ceasing use of an Ad Tech Product: The
                        Indiana Office of Attorney General does not select individual Ad Tech
                        Products. Any Display Advertising purchased for any UPD advertising
                        campaign was arranged through its outside vendor.

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Office further states that the Kentucky Office of the Attorney General has used
              Ad Tech Products and Display Advertising. The Office has retained an outside firm,
              Red7e, for advertising, marketing, and digital media services in connection with
              various ad campaigns. The ad campaigns managed by Red7e used various forms of
              Display Advertising, including but not limited to advertisements on Facebook,
              Instagram, and streaming devices. Please see the Red7e documentation the
              Commonwealth is producing in response to Google’s First Set of Requests for
              Production for additional details. The Office has also used LinkedIn for job
              postings. Please see the LinkedIn invoices the Commonwealth is producing in
              response to Google’s First Set of Requests for Production for additional details. As
              to the specific subparts of Interrogatory No. 15, responses are provided below:
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                     a. the type of Ad Tech Product used: LinkedIn; Facebook; Instagram.
                        Please see the Red7e documentation the Kentucky Office of the Attorney
                        General is producing in response to Google’s First Set of Requests for
                        Production for additional details regarding the type of AdTech Product
                        used.

                     b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                        The Kentucky Office of the Attorney General has information regarding
                        the fees it paid for LinkedIn and the fees it paid to Red7e. Please see the
                        Red7e and LinkedIn documentation the Office is producing in response
                        to Google’s First Set of Requests for Production for additional details.
                        The Office does not have information on the Take Rate for each Ad Tech
                        Product used.

                     c. the dates during which each Ad Tech Product was used: The Kentucky
                        Office of the Attorney General used LinkedIn in April of 2020,
                        September of 2021, and July of 2022. The Office has worked with Red7e
                        in 2021, 2022, and 2023. At the time of service of these responses, the
                        Office continues to work with Red7e. Please see the Red7e and LinkedIn
                        documentation the Commonwealth is producing in response to Google’s
                        First Set of Requests for Production for full details regarding the dates
                        during which each Ad Tech Product was used.

                     d. all reasons for using and/or switching from one Ad Tech Product to
                        another: The Kentucky Office of the Attorney General does not have
                        information on the reasons for using and/or switching from one Ad Tech
                        Product to another, other than what appears in the Red7e documentation
                        the Office is producing in response to Google’s First Set of Requests for
                        Production.

                     e. if applicable, all reasons for ceasing use of an Ad Tech Product: The
                        Kentucky Office of the Attorney General does not have information on
                        the reasons for ceasing use of an Ad Tech Product.

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past and the Louisiana AG’s office
              will facilitate production of responsive documents from those entities. Information
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                regarding their use of display advertising or ad tech products is not within the
                possession, custody, or control of the Louisiana Office of the Attorney General.

            •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
                Exhibit “A” a list of contact information for their respective state agencies, which
                are in a superior position to provide Google with the information it seeks. The
                Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
                whether these entities use display advertising or ad tech products, and such
                information is not within their possession, custody, or control.

            •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
                identifies the following link containing a full list of Missouri State Agencies,
                Departments, Boards, and Commissions:

                       (https://www.mo.gov/search-results?mode=state_agencies).

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Missouri Office of the Attorney
                General. The foregoing link includes contact information for each Missouri
                Agency, Department, Board, and Commission. Each such Agency, Department,
                Board, and Commission would be in a superior position to provide Google with the
                information it seeks.

            •   The Nevada AGO has not purchased display advertising or used ad tech products
                during the Relevant Period, and does not have possession, custody or control of
                documents or information for other state agencies. However, as stated in the
                Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
                are willing to voluntarily produce relevant documents or information without the
                formal issuance by Google of a FRCP 45 subpoena. The documents these
                Additional Nevada Agencies are willing to voluntarily produce would include
                information that is responsive to the requests in Interrogatory No. 15, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.


     INTERROGATORY NO. 16: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

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     Display Advertising, identify each account associated with each Ad Tech Product used and

     provide:

      a. the dates during which each account was in use;

      b. all entities associated with each account;

      c. all account IDs, including Google Customer IDs (CIDs), associated with each account;

      d. the individuals and entities, including external advertising agencies, who had

        responsibility for and access to each account and the contact information for each; and

      e. the settings for each account over time, including bidding methodologies for Display

        Advertisements (e.g., manual or automated bidding), bidding strategy, attribution and User

        tracking, any changes made from the default settings including enabling or disabling

        certain Features, any limits or thresholds set for Bid amounts, the associated time period in

        which these changes were made, and reasons for doing so.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The Arkansas Office of Attorney General operates a single account for Ad Tech
                Services.

                        a) November 1, 2023—Present

                        b) Arkansas Office of Attorney General, Public Protection Division

                        c) Account Number 862-941-6906; Google Customer ID 0596-6592-3895-
                           7671

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                     d) Two individuals:
                        1. Charles Saunders, Assistant Attorney General, Arkansas Office of
                        Attorney General, 323 Center St., Little Rock, AR 72201
                        2. Bryant Stanfield, Logistics Director, Arkansas Office of Attorney
                        General, 323 Center St., Little Rock, AR 72201

                     e) Because this is a Google account, Google should be in possession of most
                        of the information sought in this section. All information sought in this
                        section that would not be in the possession of Google is included in the
                        State of Arkansas’ response to Interrogatory No. 18.

          •   The ND Lottery does not have possession, custody, or control over this information.
              The ND Lottery’s Ad Tech product accounts have been handled by a third party,
              namely Kranzler Kingsley Communications Ltd d/b/a KK Bold (“KK Bold”), 505
              East Main Avenue Suite 250, Bismarck, ND, 58501, telephone (701) 255-3067,
              during the Relevant Time Period.

          •   The Plaintiff State of Indiana identifies the following links containing a searchable
              directory identifying staff of Indiana State Agencies, Departments, Boards, and
              Commissions:

                   (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                (https://www.in.gov/apps/iot/find-a-person/)

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Indiana Office of the Attorney
              General.

              The Plaintiff State of Indiana specifically identifies the Unclaimed Property
              Division as the only division of the Indiana Office of Attorney General that has
              used display advertising or ad tech products during the Relevant Period.

              The Indiana Office of Attorney General does not directly purchase individual Ad
              Tech Products and does not have any information on any individual Ad Tech
              “account.” Any Display Advertising purchased for any UPD advertising campaign
              was arranged through its outside vendor.

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

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              The Kentucky Office of the Attorney General states that it does not have
              information on subparts (a) through (e) of Interrogatory No 16. The Office’s
              “accounts” associated with each Ad Tech Product have been handled by a third
              party—Red7e—located at 637 W Main Street Louisville, Kentucky 40202.

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past and the Louisiana AG’s office
              will facilitate production of responsive documents from those entities. Information
              regarding their use of display advertising or ad tech products is not within the
              possession, custody, or control of the Louisiana Office of the Attorney General.

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within their possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Nevada AGO has not purchased display advertising or used ad tech products
              during the Relevant Period, and does not have possession, custody or control of
              documents or information for other state agencies. However, as stated in the
              Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
              are willing to voluntarily produce relevant documents or information without the
              formal issuance by Google of a FRCP 45 subpoena. The documents these
              Additional Nevada Agencies are willing to voluntarily produce would include
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                information that is responsive to the requests in Interrogatory No. 16, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.

     INTERROGATORY NO. 17: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify the monthly return on investment or return on advertising spend

     as a result of using each Ad Tech Product, including Google as well as non-Google Products.

     In Your answer, describe how each agency, department, entity, or division determines return

     on investment or return on advertising spend.

        Response: The Plaintiff States object to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case as it places an undue burden on
        the responding party that outweighs its expected benefits and the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party or otherwise
        not relevant to the facts or claims in this litigation. The Plaintiff States also object to this
        interrogatory because it seeks information that is not within the possession, custody, or
        control of their respective Offices of the Attorney General and reiterate their objection to
        the definition of “You” stated above. The Plaintiff States are willing to meet and confer
        with Google to identify responsive information, if any, within their possession, custody, or
        control, that is not more easily obtained from third parties or that can be provided without
        causing undue burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that this interrogatory is inapplicable to the State of
                Arkansas, as its use of Ad Tech Products and Display Advertising were not
                intended to create a return on investment, but solely to operate as a notice to the
                public.

            •   The ND Lottery does not track return on investment or return on advertising spend.
                The ND Lottery has received some analytics relating to its online advertisement
                from KK Bold, however, not regarding return on investment or return on
                advertising spend.


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          •   The Plaintiff State of Indiana identifies the following links containing a searchable
              directory identifying staff of Indiana State Agencies, Departments, Boards, and
              Commissions:

                   (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                (https://www.in.gov/apps/iot/find-a-person/)

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Indiana Office of the Attorney
              General.

              The Plaintiff State of Indiana specifically identifies the Unclaimed Property
              Division as the only division of the Indiana Office of Attorney General that has
              used display advertising or ad tech products during the Relevant Period.

              The Indiana Office of Attorney General does not track return on investment or
              return on advertising spend by Ad Tech Product used. The Indiana Office of
              Attorney General has only purchased display advertising in furtherance of UPD’s
              noncommercial mission which includes informing owners of the existence of
              unclaimed property held by UPD.

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Kentucky Office of the Attorney General refers to the information contained
              in the Red7e documentation the Office is producing in response to Google’s First
              Set of Requests for Production, including the document entitled “Digital/Internet
              Advertising Recap.”

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past, however The State of
              Louisiana states that this interrogatory is inapplicable, as its limited use of Ad Tech
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                Products and Display Advertising were not intended to create a return on
                investment, but solely to operate as a notice to the public on the limited topics of
                the campaigns.

            •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
                Exhibit “A” a list of contact information for their respective state agencies, which
                are in a superior position to provide Google with the information it seeks. The
                Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
                whether these entities use display advertising or ad tech products, and such
                information is not within their possession, custody, or control.

            •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
                identifies the following link containing a full list of Missouri State Agencies,
                Departments, Boards, and Commissions:

                       (https://www.mo.gov/search-results?mode=state_agencies).

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Missouri Office of the Attorney
                General. The foregoing link includes contact information for each Missouri
                Agency, Department, Board, and Commission. Each such Agency, Department,
                Board, and Commission would be in a superior position to provide Google with the
                information it seeks.

            •   The Nevada AGO has not purchased display advertising or used ad tech products
                during the Relevant Period, and does not have possession, custody or control of
                documents or information for other state agencies. However, as stated in the
                Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
                are willing to voluntarily produce relevant documents or information without the
                formal issuance by Google of a FRCP 45 subpoena. The documents these
                Additional Nevada Agencies are willing to voluntarily produce would include
                information that is responsive to the requests in Interrogatory No. 17, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.


     INTERROGATORY NO. 18: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or
                                                 28
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     Display Advertising, identify all factors that have influenced Display Advertising strategy,

     selection of Ad Tech Providers, and selection of Ad Tech Products.

        Response: The Plaintiff States object to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case as it places an undue burden on
        the responding party that outweighs its expected benefits and the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party or otherwise
        not relevant to the facts or claims in this litigation. The Plaintiff States also object to this
        interrogatory because it seeks information that is not within the possession, custody, or
        control of their respective Offices of the Attorney General and reiterate their objection to
        the definition of the word “You” stated above. The Plaintiff States are willing to meet and
        confer with Google to identify responsive information, if any, within their possession,
        custody, or control, that is not more easily obtained from third parties or that can be
        provided without causing undue burden. Subject to and without waiving the foregoing
        objections:

            •   The State of Arkansas states that the factor that influenced its display advertising
                strategy were the State of Arkansas’ goal to notify persons located in Arkansas of
                laws governing tobacco purchases within the State of Arkansas and to deter the sale
                of contraband tobacco products. The selection of Google AdWords was made
                because Google is the most used search engine and the most used online advertising
                platform for searches.

                The ND Lottery has relied on input and decisions from its advertising agency for
                any decisions relating to Display Advertising strategy and selection of Ad Tech
                Providers and Products. The ND Lottery provided a budget to its advertising agency
                and relied on the advertising agency to make recommendations on how and where
                to advertise based on the budget and the nature and goal of the advertising
                campaign.
            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

                     (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                  (https://www.in.gov/apps/iot/find-a-person/)

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Indiana Office of the Attorney
                General.

                The Plaintiff State of Indiana specifically identifies the Unclaimed Property
                Division as the only division of the Indiana Office of Attorney General that has
                used display advertising or ad tech products during the Relevant Period.


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              The Indiana Office of Attorney General UPD has relied on input and decisions from
              its outside vendor for decisions relating to Display Advertising strategy and
              selection of individual Ad Tech Providers and Ad Tech Products. The Indiana
              Office of Attorney General has provided campaign budgets to its vendor and relied
              on the vendor to make recommendations on how and where to advertise based on
              the budget and the nature and goal of the advertising campaign.’

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Kentucky Office of the Attorney General states that it relies on input from
              Red7e regarding advertising, marketing, and digital media services, including its
              input on selecting any Ad Tech Providers and Ad Tech Products. In addition, the
              Office states that what Ad Tech Providers or Ad Tech Products are used is also a
              function of the details of each ad campaign. Please see the Red7e documentation
              the Commonwealth is producing in response to Google’s First Set of Requests for
              Production for additional information on the details of each ad campaign.

          •   The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past for specific campaigns directed
              at messaging regarding fair housing and gambling. The purchase of said limited
              display advertising was made with non-state funds and through an outside
              advertising agency that would have selected the strategy, products and providers.
              The Louisiana AG’s office will facilitate production of responsive documents from
              those entities. In addition, the Plaintiff State of Louisiana, by and through its
              Attorney General’s Office identifies the following link containing a directory of all
              Louisiana State Agencies:


              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              Information regarding their use of display advertising or ad tech products is not
              within the possession, custody, or control of the Louisiana Office of the Attorney
              General.

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
                                               30
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                are in a superior position to provide Google with the information it seeks. The
                Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
                whether these entities use display advertising or ad tech products, and such
                information is not within their possession, custody, or control.

            •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
                identifies the following link containing a full list of Missouri State Agencies,
                Departments, Boards, and Commissions:

                        (https://www.mo.gov/search-results?mode=state_agencies).

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Missouri Office of the Attorney
                General. The foregoing link includes contact information for each Missouri
                Agency, Department, Board, and Commission. Each such Agency, Department,
                Board, and Commission would be in a superior position to provide Google with the
                information it seeks.

            •   The Nevada AGO has not purchased display advertising or used ad tech products
                during the Relevant Period, and does not have possession, custody or control of
                documents or information for other state agencies. However, as stated in the
                Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
                are willing to voluntarily produce relevant documents or information without the
                formal issuance by Google of a FRCP 45 subpoena. The documents these
                Additional Nevada Agencies are willing to voluntarily produce would include
                information that is responsive to the requests in Interrogatory No. 18, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.


     INTERROGATORY NO. 19: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, describe the impact of Header Bidding on Digital Advertising strategy or

     the cost effectiveness of Digital Advertising.


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        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that the only effect that Header Bidding on Digital
                advertising has had on the State of Arkansas Office of Attorney General’s digital
                advertising strategy was that the account operator placed a bid limit of $500 on the
                account. Automatic bidding is enabled on the account.

                The North Dakota Lottery does not have any information regarding Header
                Bidding, its impact on the Digital Advertising strategy or the cost effectiveness of
                the ND Lottery’s Digital Advertising.

            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

                     (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                  (https://www.in.gov/apps/iot/find-a-person/)

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Indiana Office of the Attorney
                General.

                The Plaintiff State of Indiana specifically identifies the Unclaimed Property
                Division as the only division of the Indiana Office of Attorney General that has
                used display advertising or ad tech products during the Relevant Period.

                The Indiana Office of Attorney General does not have any information regarding
                Header Bidding, its impact on its Digital Advertising strategy or the cost
                effectiveness of UPD’s Digital Advertising.

            •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
                an organizational chart of the executive branch of government in the
                Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
                General does not have any independent knowledge of whether any other state
                agency, entity, division, or department of the Commonwealth, including any
                contained on the organizational chart available at the link provided, has used
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              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Kentucky Office of the Attorney General states that it does not have any
              information regarding the impact of Header Bidding on Digital Advertising strategy
              or the cost effectiveness of Digital Advertising.

          •   The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past for specific campaigns directed
              at messaging regarding fair housing and gambling. The purchase of said limited
              display advertising was made with non-state funds and through an outside
              advertising agency that would have selected the strategy including that regarding
              Header Bidding and its impact on the Digital Advertising strategy, products and
              providers. The Louisiana AG’s office will facilitate production of responsive
              documents from those entities. In addition, the Plaintiff State of Louisiana, by and
              through its Attorney General’s Office identifies the following link containing a
              directory of all Louisiana State Agencies:


              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within their possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Nevada AGO has not purchased display advertising or used ad tech products
              during the Relevant Period, and does not have possession, custody or control of
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                documents or information for other state agencies. However, as stated in the
                Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
                are willing to voluntarily produce relevant documents or information without the
                formal issuance by Google of a FRCP 45 subpoena. The documents these
                Additional Nevada Agencies are willing to voluntarily produce would include
                information that is responsive to the requests in Interrogatory No. 19, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.


     INTERROGATORY NO. 20: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, describe the Properties on which Display Advertisements have been

     placed, including any restrictions on the placement of Display Advertisements and any

     applicable criteria, settings, or parameters, or any instructions given to Agencies or Ad Tech

     Providers regarding the placement of Display Advertisements.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that the account has restricted advertisements to
                searches geolocated within the State of Arkansas. The AdWords account has
                parameters of associated search keywords. The Search Keyword report is attached
                to this supplemental response. Because this is a Google account, Google should be
                in possession of the information sought in this interrogatory.
                                                   34
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          •   The ND Lottery only advertises in locations where the targeted audience is 18+
              years old and North Dakota residents. In certain instances, North Dakota Lottery
              may seek to focus its advertising on bigger cities in the state. The ND Lottery seeks
              to advertise on sites where its audience is likely to have a history in gaming. The
              specific Properties where Display Advertisements have been placed is not
              information within the possession, custody, or control of ND Lottery.

          •   The Plaintiff State of Indiana identifies the following links containing a searchable
              directory identifying staff of Indiana State Agencies, Departments, Boards, and
              Commissions:

                   (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                (https://www.in.gov/apps/iot/find-a-person/)

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Indiana Office of the Attorney
              General.

              The Plaintiff State of Indiana specifically identifies the Unclaimed Property
              Division as the only division of the Indiana Office of Attorney General that has
              used display advertising or ad tech products during the Relevant Period.

              The Indiana Office of Attorney General UPD has provided some general targeting
              criteria to its vendor The Prosper Group for some campaigns for Display
              Advertising as defined. Specifically, it has directed internal information on
              potential owners to its vendor in connection with social advertising campaigns.
              Additionally, UPD it has provided geographic targeting goals to its vendor in
              connection with specific video campaigns. However, the communication of any
              specific targeting criteria to Ad Tech Providers is managed through its vendor. The
              specific Properties where Display Advertisements have been placed is not
              information within the possession, custody, or control of the Indiana Office of
              Attorney General.

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Kentucky Office of the Attorney Genetal refers to the Red7e documentation
              the Office is producing in response to Google’s First Set of Requests for
              Production, including the document entitled “Digital/Internet Advertising Recap.”
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              As for any restrictions on the placement of Display Advertisements and any
              applicable criteria, settings, or parameters, or any instructions given regarding the
              placement of Display Advertisements, the Office does not have information other
              than what appears in the Red7e documentation the Commonwealth is producing in
              response to Google’s First Set of Requests for Production. Please see those
              documents for details.

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past and the Louisiana AG’s office
              will facilitate production of responsive documents from those entities. Information
              regarding their use of display advertising or ad tech products is not within the
              possession, custody, or control of the Louisiana Office of the Attorney General.

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within their possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Nevada AGO has not purchased display advertising or used ad tech products
              during the Relevant Period, and does not have possession, custody or control of
              documents or information for other state agencies. However, as stated in the
              Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
              are willing to voluntarily produce relevant documents or information without the
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                formal issuance by Google of a FRCP 45 subpoena. The documents these
                Additional Nevada Agencies are willing to voluntarily produce would include
                information that is responsive to the requests in Interrogatory No. 20, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                Dakota, and Utah have not purchased display advertising or used ad tech products
                during the Relevant Period. Additionally, the Utah Division of Consumer
                Protection has not purchased display advertising or used ad tech products during
                the Relevant Period.


     INTERROGATORY NO. 21: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify by date and description any studies or analyses concerning return

     on investment for Display Advertising, including analyses comparing the performance, value,

     or effectiveness of Google Ad Tech Products to other Ad Tech Products.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object on the basis that this
        request calls for the premature disclosure of expert opinions. Expert disclosures will be
        made within the time prescribed by the Court’s Scheduling Order. Futher, the Plaintiff
        States object to this interrogatory because it seeks information that is not within the
        possession, custody, or control of their respective Offices of the Attorney General and
        reiterate their objection to the definition of “You” stated above. The Plaintiff States are
        willing to meet and confer with Google to identify responsive information, if any, within
        their possession, custody, or control, that is not more easily obtained from third parties or
        that can be provided without causing undue burden. Subject to and without waiving the
        foregoing objections:

            •   The State of Arkansas states that this interrogatory is inapplicable to the State of
                Arkansas, as its use of Ad Tech Products and Display Advertising were not
                intended to create a return on investment, but solely to operate as a notice to the
                public.

            •   The ND Lottery does not track return on investment for Display Advertising and
                does not have any studies or analysis concerning return on investment or the
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              performance or effectiveness of Ad Tech Products. The ND Lottery has received
              some analytics relating to its online advertisement from KK Bold, however, not
              relating to return on investment for Display Advertising.

          •   The Plaintiff State of Indiana identifies the following links containing a searchable
              directory identifying staff of Indiana State Agencies, Departments, Boards, and
              Commissions:

                   (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                (https://www.in.gov/apps/iot/find-a-person/)

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Indiana Office of the Attorney
              General.

              The Plaintiff State of Indiana specifically identifies the Unclaimed Property
              Division as the only division of the Indiana Office of Attorney General that has
              used display advertising or ad tech products during the Relevant Period.

              The Indiana Office of Attorney General does not track return on investment for
              Display Advertising. The Indiana Office of Attorney General has only purchased
              Display Advertising in connection with UPD’s noncommercial mission which
              includes informing owners of the existence of unclaimed property held by UPD.
              The Indiana Office of Attorney General is producing documents reflecting ad
              performance prepared by its vendor The Prosper Group.

          •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
              an organizational chart of the executive branch of government in the
              Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies.

              The Kentucky Office of the Attorney General refers to the Red7e documentation
              the Commonwealth is producing in response to Google’s First Set of Requests for
              Production, including the document entitled “Digital/Internet Advertising Recap.”

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System
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              The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past, however The State of
              Louisiana states that this interrogatory is inapplicable, as its limited use of Ad Tech
              Products and Display Advertising were not intended to create a return on
              investment, but solely to operate as a notice to the public on the limited topics of
              the campaigns.

          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within their possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Nevada AGO has not purchased display advertising or used ad tech products
              during the Relevant Period, and does not have possession, custody or control of
              documents or information for other state agencies. However, as stated in the
              Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
              are willing to voluntarily produce relevant documents or information without the
              formal issuance by Google of a FRCP 45 subpoena. The documents these
              Additional Nevada Agencies are willing to voluntarily produce would include
              information that is responsive to the requests in Interrogatory No. 21, and the
              Nevada AGO is willing to facilitate the voluntary production from these Additional
              Nevada Agencies within a reasonable period of time.

          •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
              Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
              Dakota, and Utah have not purchased display advertising or used ad tech products
              during the Relevant Period. Additionally, the Utah Division of Consumer
              Protection has not purchased display advertising or used ad tech products during
              the Relevant Period.

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     INTERROGATORY NO. 22: Identify all facts and documents supporting Your allegations

     concerning the alleged 2020 Facebook boycott described in Paragraph 175 of the Third

     Amended Complaint.

         Response: The Plaintiff States objects to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case. Plaintiff States also object to this
         interrogatory as premature given the status of the case and the fact that discovery is
         ongoing, including review of documents not timely collected and only recently produced
         by Google, and to the extent it seeks to compel Plaintiffs to marshal all of their evidence
         in advance of trial. The Plaintiff States also object on the basis that this request calls for
         the premature disclosure of expert opinions. Expert disclosures will be made within the
         time prescribed by the Court’s Scheduling Order. Plaintiff States also object on the basis
         that this is a contention interrogatory that need not be answered until the conclusion of fact
         discovery. Subject to and without waiving the foregoing objections, the Plaintiff States
         respond:

             •   These allegations were based on publicly available information. The Plaintiff States
                 will supplement their response to this interrogatory at a later date if they obtain
                 additional information that is not readily available in the public domain.


     INTERROGATORY NO. 23: For the following alleged conduct, describe the facts and

     identify the documents that support Your assertion that each is a continuing violation such that

     the statute of limitations is tolled and/or equitable tolling applies:

         a. tying DFP to AdX, as described in Paragraphs 245-52 of the Third Amended Complaint;

         b. Encryption of User IDs, as described in Paragraphs 254-66 of the Third Amended
         Complaint;

         c. Dynamic Allocation, as described in Paragraphs 267-81 of the Third Amended
         Complaint;

         d. Enhanced Dynamic Allocation, as described in Paragraphs 282-96 of the Third Amended
         Complaint;

         e. Bernanke, as described in Paragraphs 297-317 of the Third Amended Complaint;

         f. Dynamic Revenue Share, as described in Paragraphs 318-30 of the Third Amended
         Complaint;


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        g. Reserve Price Optimization, as described in Paragraphs 331-51 of the Third Amended
        Complaint;

        h. implementing a cap on active Line Items in DFP as described in Paragraphs 389-94 of
        the Third Amended Complaint; and

        i. Accelerated Mobile Pages, as described in Paragraphs 406-12 of the Third Amended
        Complaint.

        Response: The Plaintiff States object to this interrogatory as premature given the status of
        the case and the fact that discovery is ongoing, including review of documents not timely
        collected and only recently produced by Google,and to the extent it seeks to compel
        Plaintiff States to marshal all of their evidence in advance of trial. The Plaintiff States
        object on the basis that this request calls for the premature disclosure of expert opinions.
        Expert disclosures will be made within the time prescribed by the Court’s Scheduling
        Order. Plaintiff States also object on the basis that this is a contention interrogatory that
        need not be answered until the conclusion of fact discovery. Subject to and without waiving
        the foregoing objections, the Plaintiff States responds:

           •   The Plaintiff States have sufficiently described the conduct at issue in their Fourth
               Amended Complaint and identify the following documents as supporting the
               allegations in the paragraphs identified:

               a. Tying DFP to AdX: GOOG-TEX-00145163, GOOG-NE-08112779, GOOG-
                  TEX-00089237, GOOG-NE-05243813, GOOG-NE-06732710, GOOG-NE-
                  03467508, GOOG-NE-04440670;

               b. Encryption of User IDs: GOOG-NE-09026329, GOOG-TEX-00873254;

               c. Dynamic Allocation: GOOG-TEX-00775968, GOOG-NE-05241137, GOOG-
                  TEX-00036284,         GOOG-NE-04384116,        FBTEX_00277367,
                  FBTEX_00048775, GOOG-NE-01728417, GOOG-TEX-00473222, GOOG-
                  NE-01431592;

               d. Enhanced Dynamic Allocation: GOOG-TEX-00001229,                       GOOG-NE-
                  09776369, GOOG-NE-03900351, GOOG-NE-09026329;

               e. Bernanke: GOOG-NE-05279363, GOOG-NE-06841582,                         GOOG-NE-
                  10929493; GOOG-NE-10569088, GOOG-NE-03898431,                         GOOG-NE-
                  13083558, GOOG-TEX-00828547, GOOG-NE-13468541,                        GOOG-NE-
                  03227701, GOOG-NE-06592460, GOOG-NE-03898431,                         GOOG-NE-
                  03892302, GOOG-NE-06592460, GOOG-TEX-01154251,                        GOOG-NE-
                  11753797, GOOG-NE-11926612, GOOG-NE-13468541,                         GOOG-NE-
                  06839089, GOOG-NE-13624783;


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                f. Dynamic Revenue Share: GOOG-NE-04934281, GOOG-NE-09485542,
                   GOOG-NE-04294619, GOOG-NE-06842715, GOOG-NE-04934281, GOOG-
                   TEX-00777528, GOOG-NE-09485306;

                g. Reserve Price Optimization: GOOG-NE-04933892, GOOG-NE-13204729,
                   GOOG-TEX-00326649,       GOOG-NE-13201773,    GOOG-NE-04933892,
                   GOOG-TEX-01149719,       GOOG-NE-13231832,    GOOG-NE-10951885,
                   GOOG-TEX-00780272,       GOOG-NE-13389693,    GOOG-NE-13204729,
                   GOOG-NE-10985210, GOOG-NE-06591119, GOOG-NE-10544618, GOOG-
                   NE-09485306, GOOG-NE-13415537, GOOG-TEX-00374779, GOOG-NE-
                   11794129, GOOG-TEX-0071969, GOOG-NE-13340735, GOOG-TEX-
                   00797340, GOOG-NE-06842715, GOOG-TEX-00106310;

                h. Line Item Caps: GOOG-TEX-00090969, GOOG-TEX-00090961;

                i.   Accelerated Mobile Pages: GOOG-NE-09724514, GOOG-TEX-00004021,
                     GOOG-TEX-00326424, GOOG-TEX-00831373, GOOG-TEX-00134732,
                     GOOG-NE-11201630,      GOOG-TEX-00123034,    GOOG-NE-12720941,
                     GOOG-NE-03246461, GOOG-NE-08412355, GOOG-NE-03246461, GOOG-
                     NE-12570719.


     INTERROGATORY NO. 24: For each of Your state’s agencies, entities, divisions, or

     departments identified in response to Interrogatory No. 1, state whether You have possession,

     custody, and/or control over documents concerning the use of Display Advertising or Ad Tech

     products by that agency, entity, division, or department. If so, include in Your answer the

     locations, custodians, and general description of such documents. If not, identify all person(s)

     with possession, custody, and/or control of such documents.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits. The Plaintiff States also object to this
        interrogatory to the extent is seeks to compel a legal conclusion. Subject to and without
        waiving the foregoing objections, the Plaintiff State respond:

            •   Plaintiff States’ respective Offices of the Attorney General do not have possession,
                custody, or control over documents or personnel from any state agency, entity,
                division, or department identified in Interrogatory No. 1 with the exception of North
                Dakota Lottery, which is a division of the North Dakota Office of Attorney General.


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            •   The State of Arkansas objects that, because this is a Google account, Google should
                be in possession of documents associated with the account. To the extent that there
                are documents not within the possession of Google, the State of Arkansas Office of
                Attorney General has possession, custody, and control over documents concerning
                the use of display advertising or ad tech products only relating to the
                aforementioned Google AdWords account No. 862-941-6906, which is maintained
                by the Arkansas Office of Attorney General Public Protection Division. Such
                documents are maintained within the Google AdWords account, are not stored
                external to that account, and are maintained by Charles Saunders, Assistant
                Attorney General. Documents relating to payments made to Google in maintaining
                the Google AdWords account are maintained by the State of Arkansas Office of
                Attorney General’s Fiscal Division.

            •   The Commonwealth of Kentucky objects to this interrogatory as unduly
                burdensome and disproportional to the needs of the case as it places an undue
                burden on the responding party that outweighs its expected benefits and the
                requesting party’s ability to obtain the information is similar or superior to that of
                the responding party or otherwise not relevant to the facts or claims in this litigation.
                Indeed, Google can issue and has issued subpoenas in this case to agencies of the
                Commonwealth. The Commonwealth also objects to this interrogatory to the extent
                it seeks information that is not within the possession, custody, or control of the
                Kentucky Office of the Attorney General and reiterates its objection to the
                definition of “You” stated above. The Commonwealth is willing to meet and confer
                with Google to identify responsive information, if any, within its possession,
                custody, or control, that is not more easily obtained from third parties or that can
                be provided without causing undue burden.

                Subject to and without waiving the foregoing objections, the Kentucky Office of
                the Attorney General states that the persons with possession, custody, and/or
                control of such documents are those agencies, entities, divisions, or departments.
                For a list of all executive branch agencies, entities, divisions, or departments of the
                Commonwealth, please see the organization chart at this link: OC-Statewide.pdf
                (ky.gov). The Office remains willing to meet and confer with Google to facilitate
                discovery with state agencies.


     INTERROGATORY NO. 25: State whether You have possession, custody, and/or control

     over documents concerning the use of Display Advertising or Ad Tech Products by each of the

     following agencies, entities, divisions, and departments of Your state. If so, include in Your

     answer the locations, custodians, and general descriptions of such documents. If not, identify

     all persons with possession, custody, and/or control of such documents:

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                   Agencies, Entities, Divisions, & Departments Listed for Each State

    TX: North Texas Tollway Authority; The Texas Department of Information Resources (DIR);
        Texas Office of the Governor, Economic Development & Tourism; Texas A&M
        University; Texas Department of Transportation; The University of Texas.

    AR: Arkansas Department of Parks, Heritage and Tourism; Southern Arkansas University;
        University of Arkansas.

    FL:   Florida Department Of Corrections; Florida Department of Economic Opportunity;
          Florida Department Of Environmental Protection; Florida Department Of State; Florida
          Department Of Transportation; Florida Fish & Wildlife Conservation Commission;
          Florida Institute of Food & Agricultural Sciences; University Of Florida.

    ID:   College of Western Idaho; Idaho Transportation Department; University of Idaho.

    IN:   Indiana Municipal Power Agency; Indiana University.

    KY: Eastern Kentucky University; Kentucky Community & Technical College System;
        Kentucky Tourism, Arts, and Heritage Cabinet.

    LA:   Louisiana State University; Louisiana Office of Tourism.

    MS: Mississippi State University; Mississippi Development Authority.

    MO: Missouri Division of Tourism; University of Missouri.

    MT: Montana Office of Tourism; The University of Montana.

    NV: College of Southern Nevada; Nevada Department of Motor Vehicles; University of
        Nevada.

    ND: North Dakota Department of Health; University of North Dakota.

    PR:   Departamento de Educación de Puerto Rico; Puerto Rico Tourism Company;
          Universidad de Puerto Rico.

    SC:   South Carolina Department of Parks, Recreation, and Tourism; University of South
          Carolina



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    SD:    South Dakota Department of Human Services; South Dakota State University; University
           of South Dakota.

    UT:    Southern Utah University and the Utah Office of Tourism.

          Response: The Plaintiff States object to these interrogatories to the extent they seek to
          compel a legal conclusion. Plaintiff States also object to the extent that these interrogatories
          are duplicative of Rule 45 subpoenas that have already been sent to the entities listed and
          thus requesting the same information from the Plaintiff States is unduly burdensome and
          disproportional to the needs of the case. Subject to and without waiving the foregoing
          objection, Plaintiff States respond that they do not have possession, custody, or control
          over any documents or personnel that belong to the institutions listed in these
          interrogatories for their respective state, and do not know who within those organizations
          would have possession, custody, or control of this information.

             •   The Office of the Attorney General of Kentucky remains willing to meet and confer
                 with Google to facilitate discovery with state agencies of the Commonwealth,
                 including those identified in this Interrogatory.


  INTERROGATORY NO. 26: For each category of monetary relief (including where applicable

  restitution, disgorgement, civil penalties, civil fines, or damages) that You seek in this Action,

  provide a computation of the amount of each category of monetary relief sought for each count.

          Response: The Plaintiff States objects to this interrogatory as premature given the status
          of the case and the fact that discovery is ongoing, including review of documents not timely
          collected and only recently produced by Google, and to the extent it seeks to compel
          Plaintiff States to marshal all of their evidence in advance of trial. The Plaintiff States
          objects on the basis that this request calls for the premature disclosure of expert opinions.
          Expert disclosures will be made within the time prescribed by the Court’s Scheduling
          Order. Finally, the Plaintiff States object to this interrogatory as exceeding the number of
          interrogatories permitted by Federal Rule of Civil Procedure 33(a)(1).


  INTERROGATORY NO. 27: Identify all persons with relevant knowledge concerning Your

  claims in this Action.

          Response: The Plaintiff States objects to this interrogatory as overly broad, unduly
          burdensome, and disproportional to the needs of the case as it places an undue burden on
          the responding party as it is duplicative of information included as part of the Plaintiff
          States’ Rule 26 disclosures or otherwise not relevant to the facts or claims in this litigation.
          Further, the Plaintiff States objects to this interrogatory to the extent that it seeks
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         information that is attorney-client or work product privileged. Further, the Plaintiff States
         object to the extent that they do not have possession, custody, or control over other state
         agencies’ documents or personnel. Finally, Plaintiff States object to this interrogatory as
         exceeding the number of interrogatories permitted by Federal Rule of Civil Procedure
         33(a)(1). Subject to and without waiving the foregoing objections, Plaintiff States respond:

             •   See Appendix A of Plaintiff States Initial Disclosures which lists each third party
                 contacted during the the investigation by the Plaintiff States. The Plaintiff States
                 did not disclose any documents to the listed parties during those conversations.


  INTERROGATORY NO. 28: Identify all persons with relevant knowledge concerning the use

  of Display Advertising or Ad Tech Products by each of Your state’s agencies, entities, divisions,

  or departments, including the office of the Attorney General.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits and the requesting party’s ability
         to obtain the information is similar or superior to that of the responding party. Further, the
         Plaintiff States object on the basis that they do not have possession, custody, or control
         over other state agencies’ documents or personnel. Finally, the Plaintiff States object to
         this interrogatory as exceeding the number of interrogatories permitted by Federal Rule of
         Civil Procedure 33(a)(1). Subject to and without waiving the foregoing objections:

             •   Plaintiff State of Arkansas identifies the following persons with relevant knowledge
                 concerning the ue of Display Advertising or Ad Tech Products:

                    o   Charles Saunders, Assistant Attorney General
                    o   Sid Rosenbaum, Chief Fiscal Officer
                    o   Ann Frazier, Deputy Chief Fiscal Officer
                    o   Bryant Stanfield, Logistics Director

             •   Plaintiff State of North Dakota identifies the following persons with relevant
                 knowledge concerning the use of Display Advertising or Ad Tech Products:

                    o Ryan Koppy, Sales and Marketing Manager – ND Lottery
                    o Lance Gaebe, Director – ND Lottery

             •   Plaintiff State of Indiana identifies the following persons with relevant knowledge
                 concerning the Indiana Office of Attorney General’s use of Display Advertising or
                 Ad Tech Products:

                    o Jamie Weber, Chief of Staff
                    o Amy T. Hendrix, Director of Unclaimed Property Division
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             •   The Commonwealth of Kentucky states that Jim Hoyland with Red7e has
                 knowledge concerning the use of Display Advertising by the Office of the Attorney
                 General. Phone: (502) 585-3403 (Ext. 234). Fax: (502) 582-2043. Email:
                 jimh@red7e.com. The Kentucky Office of the Attorney General is unaware of who
                 within any other state agency, entity, division, or department of the Commonwealth
                 has knowledge of those entities’ use, if any, of Display Advertising or Ad Tech
                 Products, but the Office remains willing to meet and confer with Google to facilitate
                 discovery with state agencies.

             •   The Nevada AGO has not purchased display advertising or used ad tech products
                 during the Relevant Period, and does not have possession, custody or control of
                 documents or information for other state agencies. However, as stated in the
                 Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
                 are willing to voluntarily produce relevant documents or information without the
                 formal issuance by Google of a FRCP 45 subpoena. The Nevada AGO is willing to
                 facilitate the voluntary production from these Additional Nevada Agencies within
                 a reasonable period of time.

             •   Plaintiff State of Louisiana identifies the following persons with relevant
                 knowledge concerning the Louisiana Attorney General’s use of Display
                 Advertising or Ad Tech Products: Christine Rozas, Section Chief, Fair Housing
                 Section; Suzanne Bourgeois, Program Manager for Problem Gambling Resource
                 Services.

             •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                 Florida, Mississippi, Missouri, Montana, Puerto Rico, South Carolina, South
                 Dakota, and Utah have not purchased display advertising or used ad tech products
                 during the Relevant Period. Additionally, the Utah Division of Consumer
                 Protection has not purchased display advertising or used ad tech products during
                 the Relevant Period.


  INTERROGATORY NO. 29: With respect to each harm or injury for which You seek relief in

  this Action in Your sovereign capacity, identify each person with knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures. The
         Plaintiff States objects to this interrogatory as premature given the status of the case and
         the fact that discovery is ongoing, including review of documents not timely collected and
         only recently produced by Google. The Plaintiff States also object on the basis that this
         request calls for the premature disclosure of expert opinions. Expert disclosures will be
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         made within the time prescribed by the Court’s Scheduling Order. Finally, the Plaintiff
         States object to this interrogatory as exceeding the number of interrogatories permitted by
         Federal Rule of Civil Procedure 33(a)(1).


  INTERROGATORY NO. 30: With respect to each harm or injury for which You seek relief in

  this Action as parens patriae, identify each person with knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures.
         Plaintiff States also object to this Request to the extent that it implies that the identification
         of specific persons is a necessary element of a parens patriae claim. Further, the Plaintiff
         States object to this interrogatory as premature given the status of the case and the fact that
         discovery is ongoing, including review of documents not timely collected and only recently
         produced by Google and to the extent it seeks to compel Plaintiff States to marshal all of
         their evidence in advance of trial or to the extent that it seeks to compel a legal conclusion.
         The Plaintiff States also object on the basis that this request calls for the premature
         disclosure of expert opinions. Expert disclosures will be made within the time prescribed
         by the Court’s Scheduling Order. Finally, the Plaintiff States object to this interrogatory as
         exceeding the number of interrogatories permitted by Federal Rule of Civil Procedure
         33(a)(1).


  INTERROGATORY NO. 31: With respect to each harm or injury to the general welfare and the

  economy of Your state for which You seek relief in this Action, identify each person with

  knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures.
         Further, the Plaintiff States object to this interrogatory as premature given the status of the
         case and the fact that discovery is ongoing, including review of documents not timely
         collected and only recently produced by Google and to the extent it seeks to compel
         Plaintiff States to marshal all of their evidence in advance of trial or to the extent that it
         seeks to compel a legal conclusion. The Plaintiff States also object on the basis that this
         request calls for the premature disclosure of expert opinions. Expert disclosures will be
         made within the time prescribed by the Court’s Scheduling Order. Finally, the Plaintiff

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        States object to this interrogatory as exceeding the number of interrogatories permitted by
        Federal Rule of Civil Procedure 33(a)(1).




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  Dated: December 6, 2023

                                                              Respectfully submitted,



   /s/ Ashley Keller                                        /s/ Mark Lanier
   Ashley Keller                                            W. Mark Lanier (lead counsel)
   Admitted Pro Hac Vice                                    Texas Bar No. 11934600
   ack@kellerpostman.com                                    Mark.Lanier@LanierLawFirm.com
   Noah Heinz                                               Alex J. Brown
   Noah.Heinz@kellerpostman.com                             Alex.Brown@LanierLawFirm.com
   150 N. Riverside Plaza, Suite 4100                       Zeke DeRose III
   Chicago, Illinois 60606                                  Zeke.DeRose@LanierLawFirm.com
   (312) 741-5220                                           10940 W. Sam Houston Parkway N. Suite 100
   Zina Bash                                                Houston, Texas 77064
   zina.bash@kellerpostman.com                              Telephone: (713) 659-5200
   111 Congress Avenue, Suite 500                           Facsimile: (713) 659-2204
   Austin, TX 78701                                         THE LANIER LAW FIRM, P.C.
   (501) 690-0990
   KELLER POSTMAN LLC

   Attorneys for Plaintiff States of Texas, Idaho, Indiana, Louisiana (The Lanier Law Firm only), Mississippi,
                                 North Dakota, South Carolina, and South Dakota




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 FOR PLAINTIFF STATE OF TEXAS:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Texas.


 KEN PAXTON
 Attorney General


 /s/ Trevor E. D. Young
 Brent Webster, First Assistant Attorney
 General of Texas
 Brent.Webster@oag.texas.gov
 Grant Dorfman, Deputy First Assistant
 Attorney General
 Grant.Dorfman@oag.texas.gov
 James R. Lloyd, Deputy Attorney General
 for Civil Litigation
 James.Lloyd@oag.texas.gov
 Trevor Young, Deputy Chief, Antitrust
 Division
 Trevor.Young@oag.texas.gov



  OFFICE OF THE ATTORNEY GENERAL OF
  TEXAS
  P.O. Box 12548
  Austin, TX 78711-2548
  (512) 936-1674

  Attorneys for Plaintiff State of Texas




                                                   51
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 FOR PLAINTIFF STATE OF ARKANSAS:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Arkansas.

 TIM GRIFFIN
 ATTORNEY GENERAL



 By: __________________________
 AMANDA J. WENTZ
 Ark. Bar No. 2021066
 Assistant Attorney General
 Office of the Arkansas Attorney General
 323 Center Street, Suite 200
 Little Rock, AR 72201
 (501) 682-1178
 Amanda.Wentz@ArkansasAG.gov

 Attorney for Plaintiff State of Arkansas
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 FOR PLAINTIFF STATE OF FLORIDA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Florida.

 ASHLEY MOODY, Attorney General

 /s/ Lizabeth A. Brady
 LIZABETH A. BRADY, Director, Antitrust Division
 FL Bar No. 457991
 LEE ISTRAIL, Assistant Attorney General
 CHRISTOPHER KNIGHT, Assistant Attorney General
 ANDREW BUTLER, Assistant Attorney General

 Office of the Attorney General, State of Florida
 PL-01 The Capitol
 Tallahassee, Florida 32399
 Phone: 850-414-3300
 Email: Liz.Brady@myfloridalegal.com

 Office of the Attorney General, State of Florida
 PL-01 The Capitol
 Tallahassee, Florida 32399
 Phone: 850-414-3300
 Email: scott.palmer@myfloridalegal.com

 Attorneys for Plaintiff State of Florida
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 55 of 67 PageID #: 6289



 FOR PLAINTIFF STATE OF IDAHO:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Idaho.

 RAÚL R. LABRADOR
 Attorney General

 /s/ John K. Olson
 John K. Olson, Deputy Attorney General

 Consumer Protection Division
 Office of the Attorney General
 954 W. Jefferson Street, 2nd Floor
 P.O. Box 83720
 Boise, Idaho 83720-0010
 Telephone: (208) 334-2424
 john.olson@ag.idaho.gov

 Attorneys for Plaintiff State of Idaho
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 56 of 67 PageID #: 6290



 FOR PLAINTIFF STATE OF INDIANA:

 THEODORE E. ROKITA
 Attorney General

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Indiana.




 Matthew Michaloski
 Deputy Attorney General
 Indiana Atty. No. 35313-49
 Indiana Government Center South – 5th Fl. 302
 W. Washington Street
 Indianapolis, IN 46204-2770
 Phone: (317) 234-1479
 Fax: (317) 232-7979
 Email: matthew.michaloski@atg.in.gov

 Attorneys for Plaintiff State of Indiana
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 57 of 67 PageID #: 6291



       FOR PLAINTIFF COMMONWEALTH OF KENTUCKY:

       I verify under penalty of perjury that the foregoing is true and correct to the best of my
       knowledge as it applies to the State of Kentucky.

       DANIEL CAMERON
       Attorney General

       /s/ Philip R. Heleringer
       Christian J. Lewis, Commissioner of the Office of Consumer Protection
       christian.lewis@ky.gov
       Philip R. Heleringer, Executive Director of the Office of Consumer Protection
       philip.heleringer@ky.gov
       Jonathan E. Farmer, Deputy Executive Director of the Office of Consumer Protection
       jonathan.farmer@ky.gov
       Sarah A. Telle, Assistant Attorney General
       sarah.telle@ky.gov
       Office of the Attorney General
       Commonwealth of Kentucky
       1024 Capital Center Drive, Suite 200
       Frankfort, Kentucky 40601
       Tel: 502-696-5300


       Attorneys for Commonwealth of Kentucky
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 58 of 67 PageID #: 6292



 FOR PLAINTIFF STATE OF LOUISIANA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Louisiana.

 HON. JEFF LANDRY
 ATTORNEY GENERAL, STATE OF LOUISIANA
 Michael Dupree
 Christopher J. Alderman
 1885 N. 3rd Street
 Baton Rouge, LA 70802

 s/ James R. Dugan, II___________
 James R. Dugan, II (pro hac vice)
 TerriAnne Benedetto (pro hac vice)
 The Dugan Law Firm
 365 Canal Street
 One Canal Place, Suite 1000
 New Orleans, LA 70130
 PH: (504) 648-0180
 FX: (504) 649-0181
 EM: jdugan@dugan-lawfirm.com
       tbenedetto@dugan-lawfirm.com

 James Williams
 CHEHARDY SHERMAN WILLIAM, LLP
 Galleria Boulevard, Suite 1100
 Metairie, LA 70001
 PH: (504) 833-5600
 FX: (504) 833-8080
 EM: jmw@chehardy.com

 Attorneys for the State of Louisiana
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 59 of 67 PageID #: 6293



 FOR PLAINTIFF STATE OF MISSISSIPPI:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Mississippi.

 LYNN FITCH, ATTORNEY GENERAL
 STATE OF MISSISSIPPI

 By:    /s/ Hart Martin
         Hart Martin
         Consumer Protection Division
         Mississippi Attorney General’s Office
         Post Office Box 220
         Jackson, Mississippi 39205
         Telephone: 601-359-4223
         Fax: 601-359-4231
         Hart.martin@ago.ms.gov

        Attorney for Plaintiff State of Mississippi
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 60 of 67 PageID #: 6294



 FOR PLAINTIFF STATE OF MISSOURI:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Missouri.

 ANDREW BAILEY
 Attorney General

 /s/ Michael Schwalbert
 Michael.Schwalbert@ago.mo.gov
 Missouri Attorney General’s Office
 815 Olive St.
 Suite 200
 St. Louis, MO 63101
 Tel: 314-340-7888

 Attorneys for Plaintiff State of Missouri
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 61 of 67 PageID #: 6295



       FOR PLAINTIFF STATE OF MONTANA:

       I verify under penalty of perjury that the foregoing is true and correct to the best of my
       knowledge as it applies to the State of Montana.

       AUSTIN KNUDSEN
       Montana Attorney General


       /s/ Anna Schneider
       Anna Schneider
       Montana Attorney General’s Office
       P.O. Box 200151
       Helena, MT 59620-0151
       Phone: (406) 444-4500
       Fax: (406) 442-1894 Anna.Schneider@mt.gov


       /s/ Charles J. Cooper
       Charles J. Cooper
       ccooper@cooperkirk.com
       David H. Thompson
       dthompson@cooperkirk.com
       Brian W. Barnes
       bbarnes@cooperkirk.com
       Harold S. Reeves
       hreeves@cooperkirk.com
       COOPER & KIRK PLLC
       1523 New Hampshire Avenue, NW
       Washington DC 20036
       Phone: (202) 220-9620
       Fax: (202) 220-9601

       Attorneys for Plaintiff State of Montana
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 62 of 67 PageID #: 6296



 FOR PLAINTIFF STATE OF NEVADA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Nevada.

 AARON D. FORD
 Attorney General
 ERNEST D. FIGUEROA
 Consumer Advocate


 /s/ Michelle C. Badorine
 Michelle C. Badorine, Senior Deputy
 Attorney General
 MNewman@ag.nv.gov
 Lucas J. Tucker (NV Bar No. 10252)
 Senior Deputy Attorney General
 LTucker@ag.nv.gov
 Office of the Nevada Attorney General
 100 N. Carson St.
 Carson City, Nevada 89701 Tel:
 (775) 684-1100

 Attorneys for Plaintiff State of Nevada
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 63 of 67 PageID #: 6297



 FOR PLAINTIFF STATE OF NORTH DAKOTA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of North Dakota.

        STATE OF NORTH DAKOTA
        Drew H. Wrigley
        Attorney General


 By:    /s/ Elin S. Alm
         Parrell D. Grossman, ND ID 04684
         Elin S. Alm, ND ID 05924
         Assistant Attorneys General
         Consumer Protection & Antitrust Division
         Office of Attorney General of North Dakota
         1720 Burlington Drive, Suite C, Bismarck, ND 58503-7736
         (701) 328-5570
         (701) 328-5568 (fax)
         pgrossman@nd.gov
         ealm@nd.gov

        Attorneys for Plaintiff State of North Dakota
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 64 of 67 PageID #: 6298



 FOR PLAINTIFF COMMONWEALTH OF PUERTO RICO:

 /s/ Domingo Emanuelli-Hernández
 Domingo Emanuelli-Hernández
 Attorney General
 Thaizza Rodríguez Pagán
 Assistant Attorney General
 PR Bar No. 17177
 P.O. Box 9020192
 San Juan, Puerto Rico 00902-0192 Tel:
 (787) 721-2900, ext. 1201, 1204
 trodriguez@justicia.pr.gov

 Kyle G. Bates
 HAUSFELD LLP
 600 Montgomery Street, Suite 3200
 San Francisco, CA 94111

 Attorneys for Plaintiff Commonwealth of Puerto Rico
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 65 of 67 PageID #: 6299



 FOR PLAINTIFF STATE OF SOUTH CAROLINA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of South Carolina.

 ALAN WILSON
 Attorney General


 /s/ Mary Frances Jowers
 Mary Frances Jowers
 Assistant Deputy Attorney General
 Rebecca M. Hartner (S.C. Bar No. 101302) Assistant
 Attorney General
 W. Jeffrey Young
 Chief Deputy Attorney General
 C. Havird Jones, Jr.
 Senior Assistant Deputy Attorney General
 South Carolina Attorney General’s Office
 P.O. Box 11549
 Columbia, South Carolina 29211-1549
 Phone: 803-734-3996
 Email: mfjowers@scag.gov

 Charlie Condon
 Charlie Condon Law Firm, LLC
 880 Johnnie Dodds Blvd, Suite 1
 Mount Pleasant, SC 29464 Phone:
 843-884-8146
 Email: charlie@charliecondon.com

 James R. Dugan, II (pro hac vice) The
 Dugan Law Firm
 365 Canal Street
 One Canal Place, Suite 1000
 New Orleans, LA 70130 Phone:
 (504) 648-0180
 Email: jdugan@dugan-lawfirm.com


 Attorneys for Plaintiff State of South Carolina
Case 4:20-cv-00957-SDJ Document 244-3 Filed 02/15/24 Page 66 of 67 PageID #: 6300



 FOR PLAINTIFF STATE OF SOUTH DAKOTA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of South Dakota.

 MARTY JACKLEY
 Attorney General


 /s/ Jonathan Van Patten
 Jonathan Van Patten
 Assistant Attorney General
 Office of the Attorney General
 1302 E. Highway 14, Suite 1
 Pierre, SD 57501
 Tel: 605-773-3215
 jonathan.vanpatten@state.sd.us

 Attorney for Plaintiff State of South Dakota
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 FOR PLAINTIFF STATE OF UTAH:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Utah.

 Sean D. Reyes
 Utah Attorney General

 /s/ Marie W.L. Martin
 Marie W.L. Martin
 Assistant Attorney General
 160 East 300 South, 5th Floor
 P.O. Box 140874
 Salt Lake City, UT 84114-0872
 mwmartin@agutah.gov
 Telephone: (801) 538-9600

 Attorneys for Plaintiff State of Utah and as counsel for the Utah Division of Consumer Protection
